Case 2:20-cv-11426-GW-AFM Document 10 Filed 04/20/21 Page 1 of 1 Page ID #:32




1    CENTER FOR DISABILITY ACCESS
     Raymond Ballister Jr., Esq., SBN 111282
2    Russell Handy, Esq., SBN 195058
     Dennis Price, Esq., SBN 279082
3    Amanda Seabock, Esq., SBN 289900
     Mail: 8033 Linda Vista Road, Suite 200
4    San Diego, CA 92111
     (858) 375-7385; (888) 422-5191 fax
5    amandas@potterhandy.com
6    Attorneys for Plaintiff, ORLANDO GARCIA
7                             UNITED STATES DISTRICT COURT
8                            CENTRAL DISTRICT OF CALIFORNIA

9    ORLANDO GARCIA                               ) Case No.: 2:20-cv-11426-GW-AFM
                                                  )
10           Plaintiff,                           ) NOTICE OF SETTLEMENT
                                                  )
11     v.                                         )
     DUQUESNE PROPERTIES, LLC, a                  )
12
     California Limited Liability Company         )
                                                  )
13
             Defendants.                          )
                                                  )
14                                                )
                                                  )
15                                                )
                                                  )
16
17          The plaintiff hereby notifies the court that a partial settlement has been reached
18   in the above-captioned case as to damages only. The case will proceed via noticed
19   motion as to attorney fees/costs.      The parties would like to avoid any additional
20   expense, and further the interests of judicial economy.
21          The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
22   dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to all
23   parties will be filed after the motion for fees/costs is heard and settlement is funded.
24                                    CENTER FOR DISABILITY ACCESS
25
26   Dated: April 20, 2021            By: /s/ Amanda Seabock
                                              Amanda Seabock
27
                                             Attorney for Plaintiff
28

     Notice of Settlement           -1-            2:20-cv-11426-GW-AFM
